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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 PATHWAY IP LLC.,

                 Plaintiff,                        Civil Action No. 1:24-cv-05218

 v.                                                Honorable Franklin U. Valderrama

 THE INDIVIDUALS, CORPORATIONS, Magistrate Judge Jeffrey T. Gilbert
 LIMITED LIABILITY COMPANIES,
 PARTNERSHIPS,              and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON THE ATTACHED
 SCHEDULE “A,”,

                 Defendant.


                                       STATUS REPORT

         Pursuant to the Court’s November 8, 2024 Minute Entry [229], Plaintiff Pathway IP LLC

(“Plaintiff”) submits this Status Report regarding how Plaintiff wishes to proceed against the

remaining Defendants in light of the Court granting, in part, Defendant Nos. 2) Luxsure-US and

60) Yarrashop Direct’s Amended Emergency Motion to Dismiss for Improper Joinder [105] –

where the Court directed the clerk to sever those defendants into a single, new action. See [230]

(order severing Defendants No. 2 and 60 into a new action).

         Aside from the motion at Dkt. 105, three other pending motions have raised joinder:

         1. Dkt. 111, filed by Defendant Nos. 4) ATKTTOP Direct, 43) Aixiangpai, and 81)

            AIXIANGPAI;

         2. Dkt. 140, filed by Defendant Nos. 1) Legee Tech, 5) BONFOTO, 15) PANYINYING,

            16) Qirui-US, 48) iphoto digit, 53) Lanyuantai, 57) Pixel Lighting, 61) AMTLJ-US,

            65) Auriani-US, 72) CY Direct US, and 79) NovoNost-us; and
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       3. Dkt. No. 140, filed by Defendant Nos. 25) Kaiess Store and 74) Weilisi.

       Consistent with the Court’s ruling on the motion filed by Defendants No. 2 and 60 [105]

Plaintiff proposes severing the case into a total of five cases (three additional cases from the two

already pending):

       1. Defendant Nos. 2) Luxsure-US and 60) Yarrashop Direct (who have already

           been severed and are currently in Case No. 24-cv-11651; 1

       2. Defendant Nos. 4) ATKTTOP Direct, 43) Aixiangpai, and 81) AIXIANGPAI

           (to be severed in a new action assigned to this Honorable Court);

       3. Defendant Nos. 1) Legee Tech, 5) BONFOTO, 15) PANYINYING, 16) Qirui-

           US, 48) iphoto digit, 53) Lanyuantai, 57) Pixel Lighting, 61) AMTLJ-US, 65)

           Auriani-US, 72) CY Direct US, and 79) NovoNost-us (to be severed in a new

           action assigned to this Honorable Court);

       4. Defendant Nos. 25) Kaiess Store and 74) Weilisi (to be severed in a new action

           assigned to this Honorable Court); and

       5. All other remaining Defendants in this matter, who have either not appeared or

           who have not raised the issue of misjoinder, which is waivable 2 would remain

           in this action.




1
  The Court’s Order [230] severing Defendants No. 2 and 60 into the new action has been docketed
in the new action. In that Order, the Court instructed that the newly created case should be assigned
to this Court. See [230] at pg. 10. At the moment, the new case (Case No. 24-cv-11651) has been
assigned to the Honorable Judge Lindsay C. Jenkins. To the extent the case is not reassigned to
this Honorable Court before the first hearing with Judge Jenkins, Plaintiff intends to note the
oversight and ask that the case be reassigned.
2
  See 35 U.S.C. § 299(c) (regarding joinder in patent cases: “A party that is an accused infringer
may waive the limitations set forth in this section with respect to that party.”). It is Plaintiff’s
position that any Defendant who has not appeared or has filed an answer or a motion to dismiss
without raising the issue of misjoinder, has thus waived the limitations of Section 299.


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       Upon severing Defendants into new actions assigned to this Honorable Court as outlined

above, Plaintiff intends to move for an Order consolidating all five actions at least for the purposes

of discovery and claim construction.



Dated: November 15, 2024                           Respectfully submitted,

                                                  /s/ Sameeul Haque
                                                  Edward L. Bishop
                                                  ebishop@bdl-iplaw.com
                                                  Nicholas S. Lee
                                                  nlee@bdl-iplaw.com
                                                  Benjamin A. Campbell
                                                  bcampbell@bdl-iplaw.com
                                                  Sameeul Haque
                                                  shaque@bdl-iplaw.com
                                                  BISHOP DIEHL & LEE, LTD.
                                                  1475 E. Woodfield Road, Suite 800
                                                  Schaumburg, IL 60173
                                                  Telephone:      (847) 969-9123
                                                  Facsimile:      (847) 969-9124

                                                   Counsel for Plaintiff, Pathway IP LLC




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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system this November 15, 2024. Any other counsel of record will be served by electronic
mail and/or first-class mail.


                                                  /s/ Sameeul Haque
                                                  Sameeul Haque




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